       Case 1:11-cr-00476-JKB        Document 219        Filed 10/09/12       Page 1 of 1


                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND

                                                *

OMAR ANDERSON,                                  *

       Movant                                   *          CRIMINAL NO. JKB-11-476
                                                           (CIVIL NO. JKB-12-1600)
       v.                                       *

UNITED STATES OF AMERICA                        *

                                                *
        *      *      *      *      *       *       *      *       *      *        *    *

                             MEMORANDUM AND ORDER

       On October 3, 2012, this Court denied the Movant’s motion to vacate, set aside, or

correct a sentence under 28 U.S.C. § 2255. (ECF No. 217.) Movant has filed a reply to the

Government’s response in opposition. (ECF No. 218.) Although not considered by the Court at

the time of its October 3, 2012, order denying relief, the Court has reviewed the reply and does

not find therein a reason to grant relief under § 2255. The Court hereby AFFIRMS its October 3,

2012, order.


DATED this 9th day of October, 2012.


                                                    BY THE COURT:



                                                                   /s/
                                                    James K. Bredar
                                                    United States District Judge
